                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  SOUTHERN DIVISION

HARRY ANTHONY SCHEINA, III,                         )
                                                    )
                 Plaintiff,                         )
                                                    )
        vs.                                         )      Case No.: 18-3210-CV-S-BP-P
                                                    )
JAMES SIGMAN,                                       )
                                                    )
                 Defendant.                         )

              JOINT MOTION TO AMEND PRETRIAL SCHEDULING ORDER

        COME NOW the parties, by and through their undersigned counsel of record, and request

that the Court amend the Pretrial Scheduling Order [Doc. 10]. As grounds for their motion, the

parties jointly state to the Court as follows.

        1.       Counsel for Plaintiff was just recently retained in this matter, and needs additional

time to participate in discovery or depositions.

        2.       The Parties have conferred and recommend to the Court the following

amendments to the Pretrial Scheduling Order:

                 a. Disclosures shall be made by November 1, 2018.

                 b. Additional parties or Amended Pleadings shall be made by January 1, 2019.

                 c. Expert Disclosures by Plaintiff shall be made by February 15, 2019, and

                     Expert Disclosure by Defendant shall be made by March 15, 2019.

                 d. All Pretrial Discovery shall be completed as of May 1, 2019.

                 e. Daubert Motions shall be due by June 1, 2019.

                 f. Any Motion for Summary Judgment shall be filed as of May 31, 2019.




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                g. Trial will be set by the Court in chambers with Counsel present by telephone

                    conference in January 2019.

        3.      This motion is not made for the purpose of hindrance or delay, but in the interest

of justice, and all parties hereto agree.

        WHEREFORE, based upon the above and foregoing, the parties jointly move this Court

to adopt an amended Pretrial Scheduling Order as outlined above.

                                            Respectfully submitted,


                                              /s/Christopher J. Swatosh______________________
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